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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


THE MANAGEMENT GROUP LLC,                             Case No. 1:19-cv-
                                  Plaintiff,
                                                      VERIFIED COMPLAINT
                     -against-
                                                      Civil Action
HOLIDAYNET, LLC, and GODADDY, INC,

                                 Defendants.


       The Management Group LLC (“TMG”) by and through their undersigned counsel, Roger

K. Marion of Marion & Allen, P.C., as and for their Verified Complaint against defendants

Holidaynet, LLC (“Holidaynet”) and Godaddy, Inc. (“Godaddy”), alleges as follows:

                                 NATURE OF THE ACTION

       1.     This is an action to enforce the terms of an Assignment Agreement (the

“Assignment” at Exhibit A) transferring the ownership and control rights in the Domain Names

and Uniform Resource Locators (“URLs”): newyears.com, newyearseve.com, 1231.com,

vegasnewyears.com, nynewyears.com, snaptickets.com, newyearspartynyc.com, and new-years-

eve.com (the “Domains”) from Defendant to Plaintiff as agreed.          Godaddy has expressly

declined to move the domain names without a Court Order to do so.

                                 JURISDICTION AND VENUE

       2.     Plaintiff TMG was organized under the laws of the State of New York on

September 26, 2003, is an active New York limited liability company and is a citizen and

resident of the State of New York with its primary place of business at 200 East 89th Street, New

York, New York.




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         3.     Defendant Holidaynet was organized under the laws of the State of Florida on June

18, 2012, is an active Florida limited liability company and is a citizen and resident of the State

of Florida with its primary place of business at 6269 N.W. 33rd Avenue, Boca Raton, Florida

33496.

         4.     Defendant Godaddy was organized under the laws of the State of Delaware on May

28, 2014, is an active Delaware corporation and is a citizen and resident of the State of Delaware

with its primary place of business at 251 Little Falls Drive, Wilmington, Delaware 19808.

         5.     The value of the Domains is well over $1,000,000.00. The Domains form the core

of an elite network of very exclusive New York New Year’s Eve parties capable of generating

over $1,000,000 per year in revenues.

         6.     This Honorable Court has jurisdiction over this action pursuant to 28 U.S.C.A.

§ 1332(a)(1).
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         7.     Thus there is complete diversity between the parties, which are a New York

Plaintiff, and Florida and Delaware Defendants.

         8.     The actual amount in controversy exceeds $75,000 exclusive of interests and costs,

in fact the value of the Domains exceed $1,000,000.00.

         9.      TMG negotiated the Assignment from his office in New York, and the

Assignment has a clause expressing that it is governed by New York law.

         10.    Thus, venue is proper in this District pursuant to 28 U.S.C.A. §1391(a)(2) because a

substantial part of the events giving rise to the claims herein happened in New York.




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                    FACTS APPLICABLE TO ALL CAUSES OF ACTION

       11.   The Assignment is a negotiated result of Defendant Holidaynet defaulting on prior

agreements with Plaintiff, duly executed by Holidaynet’s Managing Member.

       12.   The Assignment is a duly constructed assignment of all rights title and interest in

the Domains, and there is no defense to the transfer of said domains pursuant to the Assignment.

       13.   When counsel for Plaintiff’s counsel contacted Godaddy he asked that the domains

be transferred pursuant to the Assignment to Plaintiff’s Godaddy account number 60458876.

       14.   Godaddy’s customer service supervisor clarified that Godaddy no longer accepts

domain assignments, and Godaddy requires that either Holidaynet actively participate in the

transfer or otherwise, Godaddy requires a Court Order.

       15.   Holidaynet has been unresponsive to Plaintiff’s counsel for more than three weeks

and has not responded to his letters or email.


                         AS AND FOR A FIRST CAUSE OF ACTION
                                 (Declaratory Judgment)

       16.   Plaintiff repeats and restates the allegations set forth in each preceding paragraph of

this Complaint as if set forth fully herein.

       17.   Based on the Assignment, all rights title and interest in the Domains now rightly

belong to Plaintiff.

       18.   The Assignment and the law controlling Assignments is uncontroverted that

Plaintiff now owns the Domains.

       19.   As a direct and proximate result of Holidaynet’s refusal to further participate in the

assignment process, Plaintiff has been damaged in that he has been denied access to and control

over the Domains.



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        20.   As a direct and proximate result of Godaddy’s refusal to transfer the domains

Plaintiff has been damaged in that he has been denied access to and control over the Domains.



              WHEREFORE, Plaintiff The Management Group LLC respectfully requests

judgment as follows:

                 A.    On the First Cause of Action, awarding a declaratory Order and judgment

 that   the   Domains    newyears.com, newyearseve.com,        1231.com,   vegasnewyears.com,

 nynewyears.com, snaptickets.com, newyearspartynyc.com, and new-years-eve.com now

 belong to The Management Group, Inc. and shall be transferred forthwith to Godaddy account

 number 60458876; and

                 F.    On each Cause of Action, awarding Plaintiff such other and additional

 relief as the Court deems just and proper.



Dated: New York, New York
       May 21, 2019




                                     Attorneys for Plaintiff




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